Case 2:15-ml-02668-PSG-SK Document 912-7 Filed 04/05/23 Page 1 of 22 Page ID
                                #:29110




                   EXHIBIT 4

             To the Declaration of
              Jeremy S. Barber
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page21ofof22
                                                                          21 Page
                                                                              PageID
                                                                                   ID
                                     #:29111
                                      #:6718


 1     Marc M. Seltzer (54534)                   Howard Langer (Pro Hac Vice)
       SUSMAN GODFREY L.L.P.                     hlanger@langergrogan.com
 2     1900 Avenue of the Stars, Suite 1400      Edward Diver (Pro Hac Vice)
 3     Los Angeles, CA 90067-6029                ndiver@langergrogan.com
       Phone: (310) 789-3100                     Peter Leckman (Pro Hac Vice)
 4     Fax: (310) 789-3150                       pleckman@langergrogan.com
       mseltzer@susmangodfrey.com                LANGER GROGAN & DIVER, P.C.
 5                                               1717 Arch Street, Suite 4130
 6
       Scott Martin (Pro Hac Vice)               Philadelphia, PA 19103
       smartin@hausfeld.com                      Tel: (215) 320-5660
 7     Irving Scher (Pro Hac Vice)               Fax: (215) 320-5703
       ischer@hausfeld.com
 8     HAUSFELD LLP
       33 Whitehall Street, 14th Floor
 9     New York, NY 10004
10     Tel: (646) 357-1100
       Fax: (2121) 202-4322
11
       [Additional Counsel Listed in Signature
12     Page]
13
      Plaintiffs’ Co-Lead Counsel
14
                              UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
16

17
       IN RE: NATIONAL FOOTBALL                     Case No. 2:15-ml-02668−PSG (JEMx)
18     LEAGUE’S “SUNDAY TICKET”
19     ANTITRUST LITIGATION                         PLAINTIFFS’ MEMORANDUM OF
                                                    POINTS AND AUTHORITIES IN
20                                                  SUPPORT OF MOTION TO AMEND
       THIS DOCUMENT RELATES TO:                    SCHEDULING ORDER
21
       ALL ACTIONS
                                                    JUDGE: Hon. Philip S. Gutierrez
22
                                                    DATE: April 15, 2022
23                                                  TIME: 1:30 p.m.
                                                    COURTROOM: First Street Courthouse
24
                                                                    350 West 1st Street
25                                                                 Courtroom 6A
                                                                   Los Angeles, CA 90012
26

27

28
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page32ofof22
                                                                          21 Page
                                                                              PageID
                                                                                   ID
                                     #:29112
                                      #:6719


 1                                                 TABLE OF CONTENTS
 2
      I.     INTRODUCTION ..................................................................................................... 1
 3
      II.    BACKGROUND ....................................................................................................... 6
 4

 5    III.   ARGUMENT ............................................................................................................. 8

 6           A.       The NFL Defendants’ Production Delays Have Prejudiced Plaintiffs’
                      Diligent Preparation to Complete Fact Discovery Under the Current
 7
                      Schedule. ......................................................................................................... 9
 8
             B.       The NFL Defendants Made Material Misrepresentations in Their
 9                    Interrogatory Responses, Creating Unnecessary Delay. ............................... 11
10
             C.       There is No Prejudice to Defendants in Amending the Scheduling
11                    Order. ............................................................................................................. 13
12           D.       Proper Development of the Record and Fundamental Fairness Provide
13                    Good Cause to Extend the Fact Discovery Period. ....................................... 14
14    IV.    CONCLUSION........................................................................................................ 15
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                       i
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page43ofof22
                                                                          21 Page
                                                                              PageID
                                                                                   ID
                                     #:29113
                                      #:6720


 1                                              TABLE OF AUTHORITIES
 2
                                                                                                                          Page(s)
 3
      Cases
 4

 5    Avila v. Willits Envtl. Remediation Trust,
         633 F.3d 828 (9th Cir. 2011) ......................................................................................... 9
 6
      Doe v. City of Newport Beach,
 7
        SA CV15-00608 JAK, 2016 WL 11757785 (C.D. Cal. Apr. 20, 2016) ..................... 14
 8
      Goodman v. Los Angeles Police Dep’t.,
 9      CV 13–5959 GAF (MANx), 2014 WL 12614428 (C.D. Cal., Oct. 31, 2014)............ 14
10
      Hunt v. Cty. of Orange,
11      672 F.3d 606 (9th Cir. 2012) ......................................................................................... 9
12 In re Air Cargo Shipping Servs. Antitrust Litig.,
13     No. 06-md-1775 ........................................................................................................... 15
14 In re Blue Cross Blue Shield Antitrust Litig.,
15
       No. 13-cv-20000 (N.D. Ala.) ....................................................................................... 15

16    In re Domestic Airline Travel Antitrust Litigation, Misc. No. 15-1404, 2018 WL
          4441507, *3 (D.D.C. Sept. 13, 2018) .......................................................................... 14
17

18
      In re Lithium Ion Batteries Antitrust Litig.,
          No. 13-md-2420 (N.D. Cal.) ........................................................................................ 15
19
      In re Municipal Derivatives Antitrust Litig.,
20        No. 08-cv-2516 (S.D.N.Y.).......................................................................................... 15
21
      In re NCAA Student-Athlete Name and Likeness Litig.,
22        No. 09-cv-1967 (N.D. Cal.) ......................................................................................... 15
23 In re Polyurethane Foam Antitrust Litig.,
24     No. 10-md-02196 (N.D. Ohio) .................................................................................... 15
25 In re Processed Egg Prods. Antitrust Litig.,
26     No. 08-md-2002 (E.D. Pa.) .......................................................................................... 15

27    In re TFT-LCD (Flat Panel) Antitrust Litig.,
          No. 07-md-1827 (N.D. Cal.) ........................................................................................ 15
28

                                                                    ii
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page54ofof22
                                                                          21 Page
                                                                              PageID
                                                                                   ID
                                     #:29114
                                      #:6721


 1 In re Thalomid and Revlimid Antitrust Litig.,
 2     No. 14-cv-6997 (D.N.J.) .............................................................................................. 15

 3    Wells Fargo Bank, N.A. v. American Nat. Ins. Co.,
        No. CV 09-01840 DDP, 2010 WL 3632787 (C.D. Cal. Sept. 13, 2010) .................... 14
 4

 5    Rules

 6    Fed. R. Civ. P. 16 ............................................................................................................ 8, 9
 7    Fed. R. Civ. P. 16(b)(4)....................................................................................................... 8
 8
      Fed. R. Civ. P. 45 ................................................................................................................ 7
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                       iii
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page65ofof22
                                                                          21 Page
                                                                              PageID
                                                                                   ID
                                     #:29115
                                      #:6722


 1    I.    INTRODUCTION
 2
            Plaintiffs respectfully submit that an extension to certain interim deadlines in the
 3
      scheduling order—one, however, that maintains the Court’s current dispositive motion
 4

 5    deadlines and anticipated trial date—is warranted due to the NFL Defendants’ failure to
 6
      comply with their discovery obligations. For example, the NFL Defendants failed to
 7
      comply with the Court’s prior deadline to substantially complete document productions by
 8

 9    October 22, 2021, despite a representation to the Court made on November 19, 2021, that
10
      they were in compliance with that deadline. Instead, the NFL Defendants have produced
11

12
      more documents after the October 2021 deadline than before, including two massive

13    productions in the past eight weeks. Moreover, the NFL Defendants inaccurately stated in
14
      an interrogatory response almost a year ago that they did not maintain certain data
15

16
      regarding NFL fans, their demographics, or viewing habits. But Plaintiffs’ review of the

17    NFL’s documents showed otherwise, and the NFL has only now agreed to produce that data
18
      (which still has yet to be produced). Without an extension, Plaintiffs will be severely
19

20    prejudiced by having inadequate time to review and analyze the many thousands of new

21    documents produced by the NFL Defendants, identify additional witnesses for deposition,
22
      conduct those depositions, and allow their experts sufficient time to analyze the results of
23

24    discovery in preparing their class certification and merits expert reports. Plaintiffs’

25    proposed extension seeks to cure that prejudice, while also maintaining the Court’s current
26
      deadlines for summary judgment briefing and the anticipated January 2024 trial date.1
27

28    1
       Plaintiffs have noticed this motion for April 15, 2022, the first available motion hearing
      date on the Court’s calendar. Given that fact discovery is currently scheduled to conclude
                                                   1
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page76ofof22
                                                                          21 Page
                                                                              PageID
                                                                                   ID
                                     #:29116
                                      #:6723


 1          Under the Court’s initial scheduling order, the NFL Defendants were required to
 2
      substantially complete their document productions in response to Plaintiffs’ first set of
 3

 4    document requests by October 22, 2021. On November 19, 2021, when the parties jointly

 5    sought a modest extension of the fact discovery cutoff and class certification briefing
 6
      schedule in order to provide adequate time to review DIRECTV’s forthcoming document
 7

 8    productions, the NFL Defendants confirmed that they had substantially completed their
 9    document productions by the October 2021 deadline. See Dkt. No. 362 at 2 (representing
10
      that they had “substantially completed their document productions” “in compliance with
11

12    the Court’s scheduling order”). On December 31, 2021, the NFL Defendants produced
13    311,187 pages of documents. And then, on January 31, 2021, less than three weeks ago,
14
      the NFL Defendants produced an additional 252,148 pages of documents. Together, these
15

16    late productions amounted to a larger volume of documents than the NFL Defendants had
17    produced before the October 22, 2021 deadline.
18
            In addition to the NFL Defendants’ delayed production of more than half a million
19

20    pages of documents well after the Court’s substantial-completion deadline, the NFL
21
      Defendants’ belated agreement to make available data in their possession regarding NFL
22
      Sunday Ticket subscribers and other NFL fans also merits an extension to avoid prejudicing
23

24

25
   on May 15, 2022, though, Plaintiffs anticipate filing a separate ex parte application to
26 advance the date of the hearing of this motion to March 18, 2022. Given the filing date of
   this motion, March 18 would be the normal timing for a hearing under the Local Rules.
27 Thus, advancing the hearing date will not prejudice the NFL Defendants because they

28 would have the normal time under the Local Rules to respond. Plaintiffs anticipate filing
   their ex parte application on February 22, 2022, pursuant to their discussions with the NFL
   Defendants.
                                                  2
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page87ofof22
                                                                          21 Page
                                                                              PageID
                                                                                   ID
                                     #:29117
                                      #:6724


 1    Plaintiffs. The NFL Defendants have yet to make that data available to Plaintiffs. Given the
 2
      importance of data regarding NFL fan viewing habits and demographics to Plaintiffs’
 3

 4    claims in this case, Plaintiffs’ very first interrogatory—served over a year ago on January

 5    25, 2021—asked the NFL to describe “all categories of information in your possession,
 6
      custody, or control that reflects or is or can be associated with individual consumers or
 7

 8    viewers of live NFL football telecasts . . .” Leckman Decl. ¶ 10. The purpose of that
 9    interrogatory—and why it was the first interrogatory served by Plaintiffs—was to identify
10
      sources of consumer data relevant to Plaintiffs’ claims and the types of data maintained by
11

12    the NFL Defendants, allow Plaintiffs an opportunity to confer with their experts regarding
13    what information in that database should be sought, and craft appropriate document
14
      requests. Plaintiffs served that interrogatory early in discovery in order to ensure their
15

16    experts had sufficient time to review and analyze that data and take it into account in their
17    analysis of the market for professional football telecasts.
18
            The NFL responded by stating that it while it maintained a “Fan Centric Marketing
19

20    database,” that database “does not track personal identifying or other demographic
21
      information relating to individual viewers of live NFL football telecasts.” Leckman Decl.
22
      ¶ 11. Plaintiffs took the NFL at its word, but recent discovery has revealed that the NFL’s
23

24    Fan Database does indeed track personal identifying and demographic information of
25
      individuals who have purchased the NFL Sunday Ticket package—a package which
26
      consists entirely of “live NFL football telecasts.” The NFL attempted to excuse their
27

28    misleading interrogatory response by claiming that just because someone subscribes to

                                                    3
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page98ofof22
                                                                          21 Page
                                                                              PageID
                                                                                   ID
                                     #:29118
                                      #:6725


 1    NFL Sunday Ticket does not mean that they actually viewed any football telecasts. Leaving
 2
      aside that purported “justification” for their answer, namely, that it was possible that
 3

 4    someone would spend hundreds of dollars on that subscription service and never watch any

 5    games, Plaintiffs’ interrogatory requested information regarding individual “consumers or
 6
      viewers.” Even if an individual never watched NFL Sunday Ticket games, they still bought
 7

 8    the package and was, therefore, a buyer—or “consumer”—of live NFL football telecasts.
 9          For all these reasons, which were unanticipated by Plaintiffs in both the original
10
      schedule and in the parties’ joint request for an extension, it would be unreasonable and
11

12    unfair to require Plaintiffs to complete all fact discovery, including the review and analysis
13    of the documents that have now been belatedly produced, identify witnesses for deposition,
14
      complete those depositions, and permit Plaintiffs’ experts sufficient time to review and
15

16    analyze the results of that discovery to prepare their class certification and merits expert
17    reports under the current schedule.2 Plaintiffs have at all times diligently pursued
18
      discovery—including pursuing discovery from the NFL Defendants, issuing no fewer than
19

20    15 third-party subpoenas, filing three motions to compel, and even obtaining letters
21
      rogatory, as well as devoting substantial attorney resources to document review and factual
22
      analysis—all to maintain the current schedule.
23

24          Plaintiffs move for this adjustment to the schedule only after careful consideration
25

26
      2
    Plaintiffs also wish to inform the Court that one of the named Plaintiffs, Michael Holinko,
27 untimely passed away in January 2022. Plaintiffs will be seeking leave to add a new
28 plaintiff if Defendants do not stipulate to that addition. The addition of a new plaintiff may
   also impact the current discovery schedule. However, the NFL Defendants’ failure to
   comply with their discovery obligations warrants an extension standing alone.
                                                    4
     Case 2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                                Document912-7
                                         423-1 Filed
                                                Filed04/05/23
                                                      02/18/22 Page
                                                                Page109 of 22
                                                                           21 Page ID
                                      #:29119
                                       #:6726


 1    of alternatives and discussions with counsel for the NFL Defendants to try reaching an
 2
      agreement. See Martin Decl. ¶¶ 2-4. Plaintiffs met and conferred with the NFL Defendants
 3

 4    on several occasions but, unfortunately, an agreement could not be reached, and this motion

 5    became necessary. Plaintiffs seek a modification to the current schedule as outlined below:
 6
                          Event                          Current          Proposed
 7
            Fact Discovery Deadline                   5/15/22        8/5/22
 8
            Class Certification Motion (and           6/5/22         8/19/22
 9          accompanying expert reports)
10          Opposition to Class Certification         8/19/22        11/4/22
            (and accompanying expert reports)
11
            Reply Brief on Class Certification        9/19/22        12/2/22
12          (and accompanying expert reports)
            Class Certification Hearing               10/17/22       To Be Set By Court
13
            Opening Merits Expert Reports             11/4/22        12/9/22
14
            Responsive Merits Expert Reports          1/18/23        2/17/23
15
            Rebuttal Merits Expert Reports            3/6/23         3/31/23
16
            Expert Discovery Deadline                 4/5/23         4/28/23
17
            Summary Judgment Motions                  5/22/23        No Change
18          Summary Judgment Oppositions              7/21/23        No Change
19          Summary Judgment Reply Briefs             8/21/23        No Change
20          Summary Judgment Hearing Date             10/9/23        No Change
21          Final Pretrial Conference                 2/5/24         No Change
22          Trial                                     2/20/24        No Change
23

24    As shown in the table above, Plaintiffs’ proposed extension does not propose any changes
25
      to the Court’s summary judgment briefing schedule, final pretrial conference date, or the
26

27    anticipated commencement of trial. Moreover, the proposed new dates for class
28    certification briefing and the submission of expert merits reports provide the NFL

                                                  5
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page11
                                                                    10ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29120
                                       #:6727


 1    Defendants with approximately the same amount of time as under the current schedule to
 2
      respond to Plaintiffs’ class certification motion and expert reports.
 3

 4    II.   BACKGROUND

 5          On January 12, 2021, the Court held a status conference to discuss scheduling
 6
      matters for this action. Dkt. No. 294. The Court entered a scheduling order the same day,
 7
      and the parties commenced discovery. Within three weeks of the status conference,
 8

 9    Plaintiffs timely served document requests and interrogatories on the NFL Defendants and
10
      on DIRECTV. Specifically, on January 22, 2021, Plaintiffs served the NFL Defendants with
11

12
      a first set of requests for production of documents and asked for 104 categories of

13    documents. Leckman Decl. ¶ 1. Plaintiffs soon thereafter also served more than 15
14
      subpoenas on third parties seeking documents relevant to Plaintiffs’ antitrust claims.
15

16
      Leckman Decl. ¶ 3. In its scheduling order, the Court ordered the parties to substantially

17    complete their document productions (for document requests served by January 22, 2021)
18
      by October 22, 2021. See Dkt. No. 294.
19

20          On November 19, 2021, Plaintiffs and the NFL Defendants filed a Joint Stipulation

21    Regarding Modifications to the Scheduling Order (the “Joint Stipulation”). Dkt. No. 362.
22
      Part of the reasoning behind the requested extension was to afford time for DIRECTV to
23

24    complete its data and document productions, and provide time for Plaintiffs to review the

25    substantial volume of documents prior to taking depositions. Dkt. No. 362-2 ¶ 5. In the
26
      Joint Stipulation, the NFL Defendants represented that their discovery productions in
27

28    response to all of Plaintiffs’ document requests were substantially complete and that they

                                                    6
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page12
                                                                    11ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29121
                                       #:6728


 1    were in compliance with the Court’s scheduling order. Dkt. No. 362. At that point, the NFL
 2
      Defendants had produced “more than 500,000 pages in response to Plaintiffs’ discovery
 3

 4    requests.” Id. More precisely, the NFL Defendants had produced 513,398 pages of

 5    materials by the October 2021 deadline. Leckman Decl. ¶ 6. In reliance on the
 6
      representations made by the NFL Defendants and the agreed-upon extension of time for
 7

 8    conducting fact discovery, Plaintiffs agreed “not to serve any Requests for Production,
 9    Interrogatories, or Requests for Admission on the NFL Defendants, or any subpoenas on
10
      third parties, after February 22, 2022.” Dkt. No. 362.3
11

12          Both before and since the filing of the Joint Stipulation, Plaintiffs have diligently
13    worked to review the productions made by the NFL Defendants, as well as those made by
14
      third parties in response to Rule 45 subpoenas, and pursued deficiencies, including multiple
15

16    meet-and-confer sessions with the NFL Defendants to resolve such issues. Leckman Decl.
17    ¶ 4. On three occasions, Plaintiffs have had to seek this Court’s assistance to compel
18
      production of responsive documents that NFL Defendants and third parties refused to
19

20    produce. See, e.g., ECF Nos. 330, 367, 377. The Court has granted two of those motions,
21
      see ECF Nos. 346, 403, and the third is pending, see ECF No. 393.
22
            What Plaintiffs had no reason to anticipate, and their diligence could not address,
23

24    however, was that following the Joint Stipulation, the NFL Defendants would continue to
25

26    3
     By this motion, Plaintiffs do not intend to change that agreement and are not seeking the
   ability to propound further written discovery requests after February 22, 2022. Rather, this
27 motion is intended only to provide sufficient time for Plaintiffs to review and analyze the

28 NFL Defendants’ late document productions, identify witnesses for deposition, and afford
   their experts sufficient time to analyze the results of discovery to prepare their expert
   reports on class certification and the merits.
                                                   7
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page13
                                                                    12ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29122
                                       #:6729


 1    make massive productions of documents—not dozens, hundreds, or even a few thousand
 2
      pages of “trailing” documents, but productions totaling over half a million pages (592,161
 3

 4    pages to be exact)—in response to Plaintiffs’ requests for production after the October

 5    2021 substantial completion deadline. Leckman Decl. ¶ 8. This represents more pages of
 6
      material than the NFL produced before the Court’s substantial completion deadline. As
 7

 8    described above, Plaintiffs further learned that over a year after they served the relevant
 9    interrogatory the NFL Defendants maintained a database containing key information that
10
      the NFL had previously claimed did not exist. Leckman Decl. ¶ 13.
11

12           In consideration of these unanticipated discovery developments, Plaintiffs met and
13    conferred with the NFL Defendants in order to seek an agreed modification to the current
14
      schedule for conducting fact discovery, class certification motion practice, and expert
15

16    deadlines. Unfortunately, those discussions ended in an impasse, requiring Plaintiffs to file
17    this motion. Martin Decl. ¶ 2. For the reasons set forth herein, Plaintiffs seek a modification
18
      to the schedule to ensure adequate time to review and analyze the NFL’s documents,
19

20    identify witnesses to be deposed, and conduct those deposition. In addition, this additional
21
      time will be required by Plaintiffs’ experts to prepare their reports in support of Plaintiffs’
22
      motion for class certification and on the merits of Plaintiffs’ claims.
23

24    III.   ARGUMENT
25           Once a scheduling order has been issued, Rule 16 allows “[a] schedule [to] be
26
      modified only for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4).
27

28    “District courts have ‘broad discretion to manage discovery and to control the course of

                                                    8
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page14
                                                                    13ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29123
                                       #:6730


 1    litigation under Federal Rule of Civil Procedure 16.’” Hunt v. Cty. of Orange, 672 F.3d
 2
      606, 616 (9th Cir. 2012) (quoting Avila v. Willits Envtl. Remediation Trust, 633 F.3d 828,
 3

 4    833 (9th Cir. 2011)).

 5          For two reasons, Plaintiffs have shown good cause here. First, in the parties’
 6
      November 19, 2021 joint submission, the NFL Defendants inaccurately claimed to
 7

 8    Plaintiffs and the Court that they had substantially completed their productions in
 9    compliance with the Court’s October 22, 2021 deadline. Indeed, the NFL Defendants have
10
      produced more pages after that deadline than they did beforehand. Second, documents
11

12    produced in discovery have revealed that the NFL Defendants’ response to Plaintiffs’ first
13    interrogatory regarding its fan database was inaccurate. Even under the NFL’s strained
14
      construction—that somehow Plaintiffs had only asked about viewership when in fact they
15

16    asked about “consumers or viewers” —that response was incomplete and misleading.
17          A modification to the schedule avoids prejudice by allowing Plaintiffs sufficient
18
      time to review and analyze the documents produced by the NFL Defendants, identify
19

20    witnesses for deposition, conduct those deposition, and enable Plaintiffs’ experts time to
21
      prepare their reports, both for class certification and merits purposes.
22
            A.     The NFL Defendants’ Production Delays Have Prejudiced Plaintiffs’
23
                   Diligent Preparation to Complete Fact Discovery Under the Current
24                 Schedule.
25          As discussed, Plaintiffs relied upon the NFL Defendants’ representations, including
26
      in the Joint Stipulation, that their productions were substantially complete as of the Court’s
27

28    October 2021 deadline. But they were not—not even close. The NFL Defendants produced

                                                    9
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page15
                                                                    14ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29124
                                       #:6731


 1    311,187 pages of discovery on December 31, 2021, and 252,148 pages on January 31, 2022
 2
      (with the fan database discovery yet to come): a total of 592,161 pages of material in
 3

 4    response to requests for productions served nearly one year prior. That exceeds the

 5    513,398 pages of documents that has been produced by the NFL Defendants’ substantial
 6
      completion deadline. Leckman Decl. ¶ 6.
 7

 8          Even from the limited review of these recently produced materials that has been
 9    possible so far, it is clear that they are not only voluminous but also very important for
10
      conducting fact witness depositions and the preparation of expert reports. Among the
11

12    documents included in these belated, massive document productions are, for example, NFL
13    Digital Packaging and Pricing Strategy materials, documents discussing pricing strategy,
14
      and documents concerning audience content consumption habits and impact on NFL
15

16    Sunday Ticket pricing. Leckman Decl. ¶ 9. Such documents are important in analyzing
17    NFL viewership and pricing of football telecasts to enable Plaintiffs’ experts to prepare
18
      their reports in support of Plaintiffs’ motion for class certification and on the merits. These
19

20    documents all should have been responsive to requests for productions served nearly one
21
      year before they were ultimately produced to Plaintiffs. Leckman Decl. ¶¶ 2, 9. Additional
22
      subscriber demographic data regarding viewers and consumers of live football telecasts
23

24    have yet to be produced.
25
            To have this massive document production made by the NFL Defendants on the eve
26
      of and coinciding with DIRECTV’s production of 300,592 documents (representing an
27

28    additional 2.1 million pages) since December only compounds the prejudice to Plaintiffs if

                                                    10
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page16
                                                                    15ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29125
                                       #:6732


 1    the current fact discovery and class certification deadlines remain the same.
 2
            B.     The NFL Defendants Made Material Misrepresentations in Their
 3                 Interrogatory Responses, Creating Unnecessary Delay.
 4
            Over a year ago, on January 25, 2021, Plaintiffs served the NFL Defendants with
 5
      their first interrogatory which asked them to describe:
 6

 7          all categories of information in your possession, custody, or control that
            reflects or is or can be associated with individual consumers or viewers of
 8
            live NFL football telecasts, including, but not limited to (a) the personal
 9          identification of consumers and viewers; (b) the number of such viewers and
            consumers of NFL telecasts and their demographics; (c) purchases of any
10
            product; (d) preferred NFL football teams of consumers or viewers of NFL
11          telecasts; and (e) viewership of other sports programming by consumers or
12
            viewers of NFL telecasts.

13    Leckman Decl. ¶ 11. This plain-English request sought information to permit Plaintiffs’
14
      experts to identify sources of data relevant to the market for professional football telecasts
15

16
      and the monetary and non-monetary effects of the NFL Defendants’ distribution restraints.

17    See Leckman Decl. ¶ 11.
18
            The NFL Defendants responded to that interrogatory on March 10, 2021, stating that
19

20    they had no database that “track[s] personal identifying or other demographic information

21    relating to individual viewers of live NFL football telecasts.” Id. The NFL then stated that
22
      it maintains “a separate database that includes non-transactional analytical data associated
23

24    with live NFL telecasts,” but again the NFL Defendants stated that the database “does not

25    include personal identification or demographic information for such viewers, nor does it
26
      include information related to product purchases, preferred NFL football team, or
27

28    viewership of other sports programming.” See Leckman Decl. ¶ 12.

                                                   11
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page17
                                                                    16ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29126
                                       #:6733


 1          During the course of Plaintiffs’ review of the NFL Defendants’ discovery (including
 2
      documents produced after the NFL’s representation that they had substantially completed
 3

 4    their production), Plaintiffs discovered that the NFL Defendants’ response was, to say the

 5    least, inadequate. Plaintiffs found documents revealing that, contrary to their response, the
 6
      NFL Defendants do maintain a database associating, among other things, a host of
 7

 8    attributes with subscribers to NFL Sunday Ticket. Leckman Decl. ¶ 13.
 9          After Plaintiffs served a Local Rule 37-1 letter regarding the insufficiency of the
10
      interrogatory response, on January 21, 2022, Plaintiffs held a meet and confer with counsel
11

12    for the NFL Defendants. Leckman Decl. ¶ 14. The NFL Defendants maintained that their
13    interrogatory response was accurate because there was no way of knowing whether
14
      someone who purchased Sunday Ticket viewed any games. This strains credulity—why
15

16    would someone buy a package of live NFL football telecasts if they never intended to view
17    a live NFL football telecast—but it is also a non sequitur because Plaintiffs’ interrogatory
18
      requested information regarding “consumers or viewers” of live NFL football telecasts.
19

20    Even if an individual decided to buy but then not watch any game available on NFL Sunday
21
      Ticket, that person was still a buyer—a consumer—of that product. If Plaintiffs had
22
      intended to just ask about viewership, they would not have asked for information about
23

24    “consumers or viewers.” The NFL Defendants, in other words, adopted an unreasonably
25
      narrow reading of “viewers,” and then completely ignored Plaintiffs’ request for
26
      information about “consumers.”
27

28          After it was discovered that the NFL did have data of the sort Plaintiffs sought,

                                                   12
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page18
                                                                    17ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29127
                                       #:6734


 1    Plaintiffs immediately served a request for the data. Leckman Decl. ¶ 16. In an implicit
 2
      admission that their interrogatory response was inaccurate, the NFL preemptively agreed
 3

 4    to produce the requested portions of the database to Plaintiffs before their deadline to

 5    respond to the new document request. But this supposed, late “expedition” of production
 6
      does little to mitigate the prejudice Plaintiffs will suffer if the current interim case deadlines
 7

 8    remain in place. If the interrogatory response had been accurate, Plaintiffs would have
 9    sought this data nearly a year ago. Plaintiffs’ experts would then have had this information
10
      and could have sought any necessary clarifications or follow-up requests in a timely
11

12    manner—not at the very end of fact discovery. This NFL fan data still has not been made
13    available to Plaintiffs.
14
             C.     There is No Prejudice to Defendants in Amending the Scheduling
15                  Order.
16
             Plaintiffs are mindful of this Court’s interest in maintaining the scheduling order and
17

18
      ensuring that this case proceeds in an efficient manner. Plaintiffs’ proposed modifications

19    allow the schedule to accommodate the problems created by the late productions by the
20
      NFL Defendants but leave unchanged any dates related to motions for summary judgment.
21

22    Plaintiffs’ proposal also leaves the Court’s anticipated final pretrial conference and trial

23    dates unchanged.
24
             Simply put, there is no prejudice to the NFL Defendants in modifying the schedule;
25

26    the proposed schedule ensures that NFL Defendants have adequate time to respond to

27    Plaintiffs’ class certification motion and their merits expert reports. Plaintiffs are seeking
28
      this extension before the fact discovery deadline, not after the close of fact discovery or on
                                                     13
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page19
                                                                    18ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29128
                                       #:6735


 1    the eve of summary judgment or trial, where a party may be required to alter their
 2
      developed strategies or disrupt a trial schedule. Cf. Wells Fargo Bank, N.A. v. American
 3

 4    Nat. Ins. Co., No. CV 09-01840 DDP (RZx), 2010 WL 3632787, at *2 (C.D. Cal. Sept. 13,

 5    2010) (finding that modification of scheduling order where party is not diligent on the “eve
 6
      of trial” is prejudicial and “would cause further delay and disrupt efficient management”
 7

 8    of the case). The proposed schedule shortens the timeframe for Plaintiffs between the close
 9    of fact discovery and its class certification motion, but otherwise provides the NFL
10
      Defendants with more time to oppose Plaintiffs’ class certification brief. The proposed
11

12    schedule also extends the expert discovery deadlines and provides the NFL Defendants
13    with approximately the same amount of time between the parties’ expert reports.
14
            D.     Proper Development of the Record and Fundamental Fairness Provide
15                 Good Cause to Extend the Fact Discovery Period.
16
            Proceeding on the current fact discovery schedule would be inconsistent with
17

18
      judicial policies favoring appropriate development of the record. See Goodman v. Los

19    Angeles Police Dep’t., CV 13–5959 GAF (MANx), 2014 WL 12614428, at *2 (C.D. Cal.,
20
      Oct. 31, 2014) (good cause exists to modify scheduling order in order for parties to develop
21

22    facts that will be useful to the Court in deciding the parties’ Motions for Summary

23    Judgment); Doe v. City of Newport Beach, SA CV15-00608 JAK (KESx), 2016 WL
24
      11757785, at *7 (C.D. Cal. Apr. 20, 2016) (acknowledging the goals of discovery as “truth-
25

26    seeking”). This is certainly so in a class action of significance in which Plaintiffs have been

27    diligently pursuing discovery and should be afforded a meaningful opportunity to review
28
      it. In re Domestic Airline Travel Antitrust Litigation, Misc. No. 15-1404 (CKK), 2018 WL
                                                    14
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page20
                                                                    19ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29129
                                       #:6736


 1    4441507, *3 (D.D.C. Sept. 13, 2018) (granting plaintiffs motion for an extension of fact
 2
      discovery so that Plaintiffs “are afforded ‘a meaningful opportunity to review the discovery
 3

 4    they have diligently pursued and for which they secured production.’”). Indeed, in large

 5    multi-district antitrust actions such as this where document productions are often
 6
      voluminous and the issues complex, extensions of the fact discovery deadlines are
 7

 8    frequently granted.4
 9    IV.   CONCLUSION
10
            For the foregoing reasons, Plaintiffs respectfully request that the Court amend the
11

12
      current scheduling order in the manner requested herein.

13

14

15

16    4
        See, e.g., In re Polyurethane Foam Antitrust Litig., No. 10-md-02196 (N.D. Ohio)
17
      (discovery proceeded from April 27, 2011 (ECF No. 112) to February 28, 2014 (ECF
      1033)); In re Thalomid and Revlimid Antitrust Litig., No. 14-cv-6997 (D.N.J.) (discovery
18    proceeded from July 6, 2015 (ECF No. 49) to May 17, 2018 (ECF No. 173)); In re Air
      Cargo Shipping Servs. Antitrust Litig., No. 06-md-1775 (discovery proceeded from
19    November 12, 2009 (ECF No. 1030) until December 31, 2013 (ECF No. 1729)); In re Blue
      Cross Blue Shield Antitrust Litig., No. 13-cv-20000 (N.D. Ala.) (discovery began in 2014
20    (ECF No. 229) until December 1, 2017 (ECF No. 1567)); In re NCAA Student-Athlete
21    Name and Likeness Litig., No. 09-cv-1967 (N.D. Cal.) (discovery proceeded from July 6,
      2010 (ECF No. 224) to January 15, 2013 (ECF No. 632)); In re Processed Egg Prods.
22    Antitrust Litig., No. 08-md-2002 (E.D. Pa.) (negotiations regarding scope and form of
      production and discovery protocols began April 21, 2010 during a discovery stay (ECF
23    320), with discovery and document production later proceeding from April 25, 2012 (ECF
24
      656) to April 30, 2014 (ECF 869)); In re Municipal Derivatives Antitrust Litig., No. 08-cv-
      2516 (S.D.N.Y.) (discovery began in earnest after a stay was modified on June 14, 2013
25    (ECF No. 1784) and subsequently lifted on June 25, 2014 (ECF No. 1909), and continued
      until August 30, 2015 (ECF No. 1946), with certain depositions continuing until June 15,
26    2016 (ECF No. 1988)); In re TFT-LCD (Flat Panel) Antitrust Litig., No. 07-md-1827 (N.D.
      Cal.) (limited discovery began after a partial stay was entered on September 25, 2007 (ECF
27    No. 300), increased after the stay was modified in early 2008 (ECF Nos. 493 & 631) and
28    continued until May 11, 2011 (ECF No. 1875)); In re Lithium Ion Batteries Antitrust Litig.,
      No. 13-md-2420 (N.D. Cal.) (discovery proceeded from July 11, 2014 (ECF No. 475) to
      February 1, 2018 (ECF No. 1964)).
                                                  15
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page21
                                                                    20ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29130
                                       #:6737


 1    Dated: February 18, 2022            Respectfully submitted,
 2
                                          By:   /s/ Marc M. Seltzer
 3                                              Marc M. Seltzer
 4
                                                 Marc M. Seltzer (54534)
 5                                               mseltzer@susmangodfrey.com
 6                                               SUSMAN GODFREY L.L.P.
                                                 1901 Avenue of the Stars, Suite 950
 7                                               Los Angeles, CA 90067
 8                                               Tel: (310) 789-3100
                                                 Fax: (310) 789-3150
 9

10                                               Arun Subramanian (Pro Hac Vice)
                                                 asubramanian@susmangodfrey.com
11                                               William Christopher Carmody (Pro Hac Vice)
12                                               bcarmody@susmangodfrey.com
                                                 Seth Ard (Pro Hac Vice)
13                                               sard@susmangodfrey.com
14                                               SUSMAN GODFREY L.L.P
                                                 1301 Avenue of the Americas, 32nd Fl.
15                                               New York, NY 10019
16                                               Tel: (212) 336-8330
                                                 Fax: (212) 336-8340
17

18                                               Ian M. Gore (Pro Hac Vice)
                                                 igore@susmangodfrey.com
19
                                                 SUSMAN GODFREY L.L.P.
20                                               1201 Third Avenue, Suite 3800
                                                 Seattle, WA 98101
21
                                                 Tel: (206) 505-3841
22                                               Fax: (206)
23
                                                 Michael D. Hausfeld (Pro Hac Vice)
24                                               mhausfeld@hausfeld.com
                                                 Farhad Mirzadeh (Pro Hac Vice)
25
                                                 fmirzadeh@hausfeld.com
26                                               HAUSFELD LLP
                                                 888 16th Street, N.W., Suite 300
27
                                                 Washington, DC 20006
28                                               Tel: (202) 540-7200
                                                 Fax: (202) 540-7201
                                                16
     Case
     Case2:15-ml-02668-PSG-JEM
          2:15-ml-02668-PSG-SK Document
                               Document912-7
                                        423-1 Filed
                                               Filed04/05/23
                                                     02/18/22 Page
                                                               Page22
                                                                    21ofof22
                                                                           21 Page
                                                                               PageID
                                                                                    ID
                                      #:29131
                                       #:6738


 1

 2                                              Scott Martin (Pro Hac Vice)
                                                smartin@hausfeld.com
 3                                              Irving Scher (Pro Hac Vice)
 4                                              ischer@hausfeld.com
                                                HAUSFELD LLP
 5                                              33 Whitehall Street, 14th Floor
 6                                              New York, NY 10004
                                                Tel: (646) 357-1100
 7                                              Fax: (212) 202-4322
 8
                                                Michael P. Lehmann (77152)
 9                                              mlehmann@hausfeld.com
10                                              Bonny E. Sweeny (176174)
                                                bsweeney@hausfeld.com
11                                              Christopher L. Lebsock (184546)
12                                              clebsock@hausfled.com
                                                HAUSFELD LLP
13                                              600 Montgomery St., Suite 3200
14                                              San Francisco, CA 94111
                                                Tel: (415) 633-1908
15                                              Fax: (415) 358-4980
16
                                                Howard Langer (Pro Hac Vice)
17                                              hlanger@langergrogan.com
18                                              Kevin Trainer (Pro Hac Vice)
                                                ktrainer@langergrogan.com
19
                                                Peter Leckman (Pro Hac Vice)
20                                              pleckman@langergrogan.com
                                                LANGER GROGAN AND DIVER PC
21
                                                1717 Arch Street, Suite 4130
22                                              Philadelphia, PA 19103
                                                Tel: (215) 320-5660
23
                                                Fax: (215) 320-5703
24
                                                Plaintiffs’ Co-Lead Counsel
25

26

27

28

                                               17
